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                                   UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF OHIO

Wendy Berry, Lorri Hulings, and Kathleen                         Case No. 1:18-cv-00326-TSB
Sammons, individually and as representatives
of a class of similarly situated persons, and on                 Judge Timothy S. Black
behalf of the FirstGroup America, Inc.
Retirement Savings Plan,

                         Plaintiffs,

v.

FirstGroup America, Inc., FirstGroup America,
Inc. Employee Benefits Committee, and Aon
Hewitt Investment Consulting, Inc.,

                        Defendants.

            JOINT STIPULATION FOR A SHORT EXTENSION OF EXPERT DISCOVERY
                       AND DISPOSITIVE MOTION DEADLINES

           Plaintiffs Wendy Berry, Lorri Hulings, and Kathleen Sammons, and Defendants

FirstGroup America, Inc., FirstGroup America, Inc. Employee Benefits Committee, and Aon

Hewitt Investment Consulting, Inc. (collectively, the “Parties”), through their undersigned

counsel, hereby jointly move for a short extension to complete expert discovery and the deadline

to file dispositive motions. The parties jointly request the following updated case schedule:

                        Event                                     Updated Deadline
                        Defendants’ Initial Expert                June 17, 2022
                        Reports
                        Plaintiffs’ Rebuttal Expert               July 15, 2022
                        Reports
                        Defendants’ Sur-Rebuttal                  August 12, 2022
                        Reports
                        Close of Expert Discovery                 September 9, 2022
                        Summary Judgment Briefs                   October 14, 2022
                        Oppositions Briefs                        November 18, 2022
                        Reply Briefs                              December 16, 2022
                        Daubert Motions 1                         January 27, 2023

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    The prior case schedule did not include a deadline for the filing of Daubert motions.
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        In support of this motion, the Parties state as follows:

        On May 4, 2021, the Court entered a Scheduling Order (ECF No. 64) setting the expert

discovery deadline for August 12, 2022 and the dispositive motion deadline for September 23,

2022.

        Due to scheduling conflicts, one of Aon Hewitt Investment Consulting, Inc.’s expert

witnesses is traveling internationally and is unavailable for deposition in early August.

Accordingly, the Parties have met and conferred regarding the case schedule, and believe that it

would be in the interests of all Parties to receive a short extension to the expert discovery

deadline to permit additional time for expert depositions. The Parties also propose a

corresponding extension of the deadlines for dispositive motions.

        This Court has broad discretion under Rule 6(b) of the Federal Rules of Civil Procedure

to grant an extension of a deadline upon the showing of good cause. See Fed.R.Civ.P. 6(b);

Kimble v. Hoso, 439 F.3d 331, 336 (6th Cir. 2006) (finding that district courts enjoy broad

discretion with regards to pretrial management, scheduling, and docket control); U.S. v. Van

Dyke, 605 F.2d 220, 227 (6th Cir. 1979) (indicating that a district court has wide discretion in

scheduling a trial). The Parties respectfully submit that good cause exists here because

extending the expert discovery deadline will permit a more productive and efficient expert

discovery period for all Parties. This is the first request for an extension of the expert discovery

and dispositive motion deadlines and the brief extension sought by the Parties will not unduly

delay the proceedings or prejudice either Plaintiffs or Defendants. Furthermore, the granting of

this motion will not interfere with any other deadlines currently scheduled by the Court.

        WHEREFORE, the Parties respectfully request that the Court grant their motion by

setting the deadline for the close of expert discovery as September 9, 2022, setting the deadline




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for dispositive motions as October 14, 2022, setting the deadline for opposition briefs as

November 18, 2022, setting the deadline for reply briefs as December 16, 2022, and setting the

deadline for Daubert motions as January 27, 2023.

   Dated: June 17, 2022                           Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I hereby certify that on June 17, 2022, a true and correct copy of the foregoing

was served by CM/ECF to the parties registered to the Court’s CM/ECF system.

Dated: June 17, 2022                         /s/ Shannon M. Barrett
                                                  Shannon M. Barrett




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